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                                                                               FILED: May 11, 2022

                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT

                                             ___________________

                                                  No. 22-1078
                                              (1:18-cv-02817-PJM)
                                             ___________________

        MICHAEL WAYNE BRIDGETT

                     Plaintiff - Appellant

         and

        KENNETH FITCH; PHYLIS REINARD; DEBORAH HEIM; MARY FRYE; DEBORAH
        MONROE; ALAN RIVKIN; HOWARD KILIAN; DEBORAH GARLITZ; MARK
        HENRY

                     Plaintiffs

        v.

        STATE OF MARYLAND; GOVERNOR LARRY HOGAN; SECRETARY DAVID R.
        BRINKLEY; STATE TREASURER NANCY KOPP, Chairman of the SRPS Board of
        Trustees c/o Office of the Attorney General; STATE COMPTROLLER PETER
        FRANCHOT, Vice Chair of SRPS Board of Trustees c/o Office of Attorney General; SRPS
        BOARD OF TRUSTEES PENSION SYSTEM, c/o Office of Attorney General

                     Defendants - Appellees

                                             ___________________

                                                  ORDER
                                             ___________________

               The court grants the motion of Adam D. Snyder to withdraw from further

        representation on appeal.

                                                   For the Court--By Direction

                                                   /s/ Patricia S. Connor, Clerk
